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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            :               Case No. 1:21-cr-35-EGS
                                                    :
                   v.                               :
                                                    :
JEFFREY SABOL                                       :

                          Defendant


    DEFENDANT JEFFREY SABOL’S REPLY MEMORANDUM IN SUPPORT OF
           MOTION FOR PRE-TRIAL RELEASE FROM CUSTODY

       Defendant Jeffrey Sabol (hereinafter “defendant” or “Mr. Sabol”), though undersigned

counsel, respectfully submits this reply memorandum in support of his motion to be released

from pre-trial custody.

       Defendant respectfully amends his initial memorandum in regards to where he would be

requesting he reside if Your Honor were to grant his pretrial release. Defendant asks this Court

to release him to the residence of his domestic partner Michelle. Michelle owns a home directly

next door to defendant’s parents’ home in New York. Defendant has known Michelle for nearly

35 years and the two have been in a dating relationship for approximately 9 and a half years.

Michelle would gladly oblige to any and all searches of her home by pretrial services to ensure

her residence complies with any Orders Your Honor would impose. Michelle is also willing to

sign as a Financially Responsible Person for Jeff’s release and put her house up as bond.

       Defendant also alerts the Court and Government that his mother suffers from Chronic

Obstructive Pulmonary Disease (COPD) and other respiratory issues. Defendant has not seen his

mother in approximately 2 years because of the COVID-19 pandemic.

       The defendant states the following in response to the Government’s opposition:




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                                     CERTIFICATE OF SERVICE

       Undersigned counsel hereby certifies, on Friday, September 24, 2021, the within motion

was filed via the Court’s electronic filing service.




       Dated: September 24, 2021                          Respectfully Submitted,

                                                          s/Alex Cirocco

                                                          Alex Cirocco, Esq.
                                                          Attorney for Jeffrey Sabol
                                                          DC Bar ID # NJ 037
                                                          Law Offices of Alex Cirocco, LLC
                                                          600 Getty Avenue, Suite 305
                                                          Clifton, NJ 07011
                                                          973-327-9995
                                                          alex@ciroccolaw.com




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             I.      LAW FOR RECONSIDERATION/RE-OPENING A DETENTION
                                                       HEARING
        As stated in defendant’s memorandum in support of pretrial release, defendant’s motion

is submitted as either a motion to reconsider Your Honor’s initial decision or a motion to reopen

detention. See Defendant’s Motion, ECF 102, pages 8-9.

        “To motions for reconsideration of interlocutory orders, however, they have applied the

“as justice requires” standard normally applied to motions under Rule 54(b) of the Federal Rules

of Civil Procedure. Coughlin, 821 F. Supp. 2d at 18; United States v. Bloch, 794 F. Supp. 2d 15,

19 (D.D.C. 2011); United States v. Sunia, 643 F. Supp. 2d 51, 61 (D.D.C. 2009).” Id. “Asking

‘what justice requires’ amounts to determining, within the court’s discretion, whether

reconsideration is necessary under the relevant circumstances.” Cobell v. Norton, 255 F. Supp.

2d 531, 539 (D.D.C. 2005). Those circumstances include when a court has “patently

misunderstood the parties, made a decision beyond the adversarial issues presented, or made an

error in failing to consider controlling decisions or data, or where a controlling or significant

change in the law has occurred.’” Arias v. DynCorp, 856 F. Supp. 2d 46, 52 (D.D.C. 2012)

(quoting Negly v. FBI, 825 F. Supp. 2d 58, 60 (D.D.C. 2011)).

        A detention hearing may be reopened, before or after a determination by the judicial

officer, at any time before trial if the judicial officer finds that information exists that was not

known to the movant at the time of the hearing and that has a material bearing on the issue

whether there are conditions of release that will reasonably assure the appearance of such person

as required and the safety of any other person and the community. See 18 U.S.C. §

3142(f)(2)(B).

        New evidence of defendant assisting an injured member of the crowd (See Exhibits K and

L), evidence that the defendant’s actions had nothing to do with the death of Roseanne Boyland



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(See Exhibit J), the Government still not providing any evidence to support their claim that

defendant’s actions led to the death of Roseanne Boyland (See Gov.’s Opp., ECF 119), and the

recent decisions in U.S. v. Michael Joseph Foy, Defendant., 21-CR-00108 (TSC), 2021 WL

2778559 and U.S. v. George Pierre Tanios, 1:21-cr-00222-TFH-2 is all information that

warrants a reconsideration of Your Honor’s initial decision and is new information that was not

available at defendant’s initial hearing that has a material bearing on the issue whether there are

conditions of release that will reasonably assure the appearance of such person as required and

the safety of any other person and the community.

       Whether defendant’s motion is analyzed as a motion to reopen detention or a motion for

reconsideration, the burden on the Government remains the same. To keep defendant detained

pretrial as a flight risk, the Government’s position must be supported by a preponderance of the

evidence. To keep the defendant detained pretrial on the basis of dangerousness, the

Government’s position must be supported by clear and convincing evidence.




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                                         II.    RISK OF FLIGHT

       To detain the defendant on the basis of risk of flight, the Government’s position must be

supported by a preponderance of the evidence. See United States v. Xulam, 84 F.3d 441, 442

(D.C. Cir. 1996). Put more simply, the Government must convince Your Honor that if defendant

is released pretrial, it is more likely than not that he will flee and not appear in Court as required.

       As stated in his initial brief, defendant does not deny that he attempted to leave the

jurisdiction after the January 6 events. However, defendant’s attempt to flee, while under no

conditions or Court Orders, does not satisfy the Government’s burden that he will not appear at

future court hearings. The only other argument the Government makes for risk of flight is

defendant’s potential prison exposure. These facts fall short of proving it is more likely than not

defendant will not appear in Court, especially considering the ability the Court has to impose

conditions on defendant.

       One of the many reasons “liberty is the norm” in our society is because of the ability the

Court has to impose conditions on pretrial defendants, ensuring they appear in Court and do not

flee the jurisdiction, while also allowing them to remain out of custody and still maintain their

freedom from incarceration. Defendant has no objection to being placed on home detention and

installing a GPS ankle monitor on himself to satisfy any concerns that he will not appear in

Court. Defendant will also surrender all travel documentation, including his passport, license,

and any other documents the Court would want surrendered. Defendant surrendering his

passport and all travel documentation ensures he is unable to flee the jurisdiction. As previously

stated, defendant’s parents will sign off as Financially Responsible People and sign a bond in the

amount of $100,000 each to ensure defendant does not flee. His partner Michelle will also put

her house up as additional collateral.




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       Although defendant’s past criminal history is so de minis, defendant never failed to

appear for Court or attempt to escape prosecution for his prior charges. While his current

charges are much more serious, his past actions do show this Court he followed prior Court

Orders and complied with conditions.

       Defendant being Indicted for more charges does nothing to further the Government’s

position that defendant will flee if released. Defendant was already facing eight charges, seven

of which were felonies, prior to the most recent Indictment. A conviction under 18 U.S.C. § 111

(b) alone carries a maximum 20-year sentence. Defendant’s maximum exposure prior to the

most recent Indictment would most likely keep him incarcerated for the rest of his natural life.

The defendant’s high prison exposure is not enough to satisfy the Government’s burden for

detention. If prison exposure alone was enough, any individual facing high prison exposure

would always be detained pretrial for risk of flight.

       The Government’s evidence fails to satisfy their burden to keep defendant detained due

to risk of flight. They have not proven it is more likely than not that defendant would flee,

especially with all the conditions the Court has the ability to put in place.




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                              III.    DANGER TO THE COMMUNITY

       When the basis for pretrial detention is the defendant’s danger to the community, the

Government is required to demonstrate the appropriateness of detention pursuant to subsection

(e) by clear and convincing evidence. See 18 U.S.C. § 3142. Put more simply, the Government

must convince Your Honor that it is substantially more likely, or there is a high probability, that

if released pretrial, defendant will engage in dangerousness conduct and commit more crimes.

       The Government’s brief seeks to label defendant’s arguments as a second bite at the

apple and an attempt to relitigate issues the Court has already ruled upon. This is clearly not

what defendant submitted. Defendant submitted new evidence that goes directly to the issue of

whether or not there is a high probability that defendant will be a danger to the community if

released. Additionally, defendant’s submission of new evidence, and the lack of evidence the

Government has provided in regards to some of its claims, warrants a re-analysis of some of the

Court’s original findings.

       Defendant submitted new, indisputable evidence that showed him help and carry away an

injured protester immediately after the events at the top of the Lower Western Steps. See

Exhibits K and L. Defendant does not argue that this act should lead to a dismissal or reduction

of his charges. However, this act by defendant clearly goes to the issue of him being a danger to

the community if released. Defendant’s act of assisting an injured protester, carrying him away

from the crowd, and not re-engaging in any other acts directly conflicts with the Government’s

argument that defendant will be a danger to the community if released.

       Although not new evidence, defendant does point out facts that were not presented to

Your Honor at the first detention hearing in regards to the picture of defendant over Officer B.M.

See Exhibit I. Specifically, the evidence showed that defendant was not hitting Officer B.M in




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the back of the neck and the snapshot exhibit was taken at the top of the steps, not at the bottom.

Defendant must be afforded some latitude in regards to Your Honor’s prior findings to show the

Government failed to meet their burden, especially considering immediately after this incident,

an incident Your Honor heavily relied on in finding the Government met their burden to detain,

defendant presented new evidence showing him helping an injured protester.

       Besides presenting the Court with new video evidence of defendant assisting an injured

protester, defendant also presented evidence that the Government misrepresented facts in regards

to their claim that defendant’s actions led to the death of another protester, specifically Roseanne

Boyland. See Exhibit J. The Government’s brief did not address defendant’s claim that the

evidence clearly showed his actions had nothing to do with the death of Ms. Boyland. Their

silence speaks volumes.

       It is obvious from both the evidence presented and the Government’s silence that

defendant Jeffrey Sabol had nothing to do with the death of Ms. Boyland. As stated in

defendant’s brief, Your Honor relied on this allegation by the Government when You found they

satisfied their burden for detention in regards to dangerousness. Now that this claim by the

Government is shown to be false, combined with other new evidence defendant has submitted, it

is clear the Government has not met their burden to detain as to dangerousness.

       In their opposition to defendant’s motion, the Government continually cited to the weight

of the evidence, the least important of four factors under 18 U.S.C. 3142 (g), and specifically

cited to the new Indicted charges. Although the weight of evidence for some of the new charges

may weigh in favor of detention, the new evidence also adds support to defendant’s initial

arguments.




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       The new evidence again shows defendant not attempting to use the zip ties he had in his

bookbag. Although some of the evidence shows defendant running at officers, the evidence

again doesn’t show defendant using any weapons to attack officers. The new evidence again

shows defendant did not enter or attempt to enter the U.S. Capitol Building. The new evidence

fails to show any celebration or promotion of defendant’s actions after January 6.

       The new evidence clearly contradicts the Government’s argument that defendant’s

actions “involved spontaneous coordination with his fellow rioters, and showed that he assumed

a leadership position in the moment.” See Gov.’s Opp., ECF 119, page 13. There has never been

any evidence put forth by the Government that shows defendant coordinated with or assumed

any leadership roles in any of his actions on January 6.

       The new evidence also shows that all of defendant’s actions and alleged crimes happened

when he was with a crowd of people, not by himself. The only time, in his entire life, that

defendant has been charged with crimes of violence or violent activity, was on January 6, 2021.

That day has come and passed. The election has been certified. Joe Biden was sworn in as

President of the United States of America. The Government stated, again, that if released, “the

defendant would have even more opportunities to unleash violence against those in “battle”

against him, and to destroy evidence and obstruct the proceedings against him.” See Gov.’s Opp.

ECF 119, page 14. That is not a “clearly identified” threat that Munchel Court spoke of to detain

a defendant pretrial.

       The decisions in other January 6 defendants’ cases, which came after Mr. Sabol’s initial

detention hearing, also warrant a reconsideration of Your Honor’s decision. Defendant

highlighted the Foy and Tanios cases, which involved defendants being much more violent and

showed evidence of prior planning. Both defendants have since been released.




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       The Government’s arguments to keep defendant detained due to dangerousness do not

satisfy their burden of clear and convincing evidence. Their arguments and reasons only relate to

the weight of the evidence and still do not show any clearly identified threat.




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                                     IV.    DISCOVERY ISSUES

       On August 23, 2021, the same day defendant filed his bond motion, undersigned counsel

received an email from the DC jail regarding defendant’s discovery packet that was sent to the

jail on June 18, 2021. Counsel was informed that discovery was received by the jail and

defendant would be placed on a waiting list to view his discovery. As of today’s date, defendant

has not had an opportunity to view any discovery in the jail.




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                                          V.      CONCLUSION
       WHEREFORE, for the foregoing reasons, and all others which may appear at oral
argument on this matter, and any others this Court deems just and proper, defendant requests as
that he be released on Third Party Custody and placed into the High Intensive Supervision
Program of the Pretrial Services Agency conditioned on reasonable conditions, including, but not
limited to, electronic monitoring and curfew.
       FINALLY, if all forms of pre-trial release are denied, undersigned counsel requests that
this Court issue an Order granting defendant the right to possess in his cell at the D.C. jail, or any
other place he is incarcerated, a laptop that affords him the ability to review all paper and video
discovery the Government has provided.




       Dated: September 24, 2021                              Respectfully submitted,




                                                              s/Alex Cirocco
                                                              Alex Cirocco, Esq.
                                                              Attorney for Jeffrey Sabol
                                                              DC Bar ID # NJ 037
                                                              Law Offices of Alex Cirocco, LLC
                                                              600 Getty Avenue, Suite 305
                                                              Clifton, NJ 07011
                                                              973-327-9995
                                                              alex@ciroccolaw.com




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